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   1   Chelsea A. Estes
   2   California State Bar No. 297641
       FEDERAL DEFENDERS OF SAN DIEGO, INC.
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       San Diego, California 92101-5030
   4   Telephone: (619) 234-8467
       Facsimile: (619) 687-2666
   5
   6   Attorneys for Petitioner
   7
   8                         UNITED STATES DISTRICT COURT
   9                       SOUTHERN DISTRICT OF CALIFORNIA
  10
  11   John Zeus Rafanan                   ,    CASE NO.:     '20CV0485 LAB

  12                 Petitioner,
                                                PETITIONER’S APPLICATION FOR A
  13                                            WRIT OF HABEAS CORPUS AD
       v.                                       PROSEQUENDUM
  14
  15 William Pelham Barr, Attorney
     General of the United States;
  16 David Harlow, Director, United
  17 States Marshals Service; John
     Kelly, Secretary of the
  18 Department of Homeland Security;
  19 and Steven C. Stafford, United
     States Marshal,
  20
                     Defendant.
  21
  22        I. INTRODUCTION
  23
              Petitioner was taken into custody by the Attorney General of the United
  24
       States, the Director of the United States Marshals Service, and their employees
  25
       (hereinafter "Respondents") on March 12, 2020            and was not presented for
  26
       initial appearance as required by Fed. R. Crim. P. 5(a)(1)(A). Petitioner, by and
  27
       through provisional counsel, Federal Defenders of San Diego, Inc., requests that
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   1   the Court issue a Writ of Habeas Corpus Ad Prosequendum to Respondents who
   2   have custody over the Petitioner and require that the Petitioner be presented to a
   3   United States magistrate judge immediately for arraignment.
   4          The Petitioner submits that there is good reason to believe that the Petitioner
   5   is currently being detained in violation of Fed. R. Crim. P. 5(a)(1)(A). Petitioner
   6   respectfully petitions this Court for a writ of habeas corpus ad prosequendum to
   7   remedy the unlawful detention.
   8   II.    JURISDICTION
   9          This Court has jurisdiction under Local Civil Rule 72.1(h)(5), 28 U.S.C. §§
  10   1331, 2241, and U.S. Const. art. I., § 9, cl. 2, because the Petitioner’s presence is
  11   needed for court proceedings and the continued detention without presentment
  12   violates the Constitution and the laws of the United States. Fed. R. Crim. P.
  13   5(a)(1)(A) ("[a] person making an arrest within the United States must take the
  14   defendant without unnecessary delay before a magistrate judge . . ."); Corley v.
  15   United States, 556 U.S. 303, 129 S.Ct. 1558, 1570 (2009) (Rule 5 is "one of the
  16   most important" protections "against unlawful arrest.").
  17
       III.   THE GOVERNMENT FAILED TO TIMELY PRESENT THE
  18          DEFENDANT UNDER FED. R. CRIM. P. 5
  19          A.    Rule 5 Requires Presentment Without Unnecessary Delay
  20          Federal Rule of Criminal Procedure 5(a)(1)(A) requires that “[a] person
  21   making an arrest within the United States must take the defendant without
  22   unnecessary delay before a Magistrate Judge . . . .” Presentment before a judge is
  23   a critical proceeding in a criminal matter because the defendant is advised of his
  24   rights as well as the charges against him. The Supreme Court in Corley v. United
  25   States reasoned that:
  26          Today presentment is the point at which the judge is required to take
              several key steps to foreclose Government overreaching: informing
  27          the defendant of the charges against him, his right to remain silent, his
  28          right to counsel, the availability of bail, and any right to a preliminary


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   1         hearing; giving the defendant a chance to consult with counsel; and
   2         deciding between detention or release.

   3   556 U.S. 303, 320 (2009).

   4         In this district, defendants are first transported to a jail and then brought

   5   before a magistrate judge. General Order 605 requires that the government “shall

   6   insure that every detainee being brought before the Court has been screened for an

   7   determined not to have transmittable tuberculosis.” See Exhibit B. The order

   8   continues by saying that “[s]uch screening shall be completed expeditiously and to

   9   avoid unnecessary delay in the detainee’s appearance before the Court as required

  10   by Federal Rule of Criminal Procedure 5.” Id.

  11         A.     Petitioner’s Case Is Controlled By United States v. Pimental

  12         The Ninth Circuit in United States v. Pimental, 755 F.3d 1095 (9th Cir. 2014)

  13   addressed what reasons can permit delay under Rule 5. Mr. Pimental was arrested

  14   at 10:00 a.m. on a Friday at the San Ysidro Port of Entry. Id. at 1097. Mr. Pimental

  15   was not presented until the following Tuesday (Monday was a court holiday) and

  16   the issue was whether he should have been presented on Friday, the same day of

  17   his arrest. “We have identified three categories of reasonable delays apart from

  18   transportation, distance, and the availability of a magistrate: (1) delays for

  19   humanitarian reasons; (2) delays due to the unavailability of government personnel

  20   [and judges] necessary to completing the arraignment process; and (3) delays

  21   necessary to determine whether a suspect should be criminally charged.” Id. at

  22   1101 (internal citations and quotations omitted).

  23         The court in Pimental held that the government’s failure to present Mr.

  24   Pimental to a magistrate on the day of his arrest violated Rule 5 because none of

  25   the three permissible reasons were present. Id. at 1103 (reasoning that “the failure

  26   to present Torres Pimental to the magistrate judge on [the day of arrest] was still

  27   unreasonable because there was ample time between 10:00 a.m. and the conclusion

  28   of the magistrate judge’s calendar to conduct the interviews, prepare a complaint,


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   1   and transport Torres Pimental to the courthouse seventeen miles away.”).
   2         B.      Jail Booking Procedure And X-Ray Screening Delays Are Not
                     Valid Reasons For Delay Under Rule 5
   3
   4         Jail booking delays or x-ray screening delays are not valid reasons under
   5   Rule 5 despite what the government may argue because the District Court cannot
   6   pass a General Order that overturns the Ninth Circuit’s decision in Pimental. The
   7   Court must read General Order 605 in a way that does not conflict with Pimental.
   8   General Order 605 requires testing for tuberculosis be done in a way that does not
   9   cause unreasonable delay under Rule 5. No exception for booking windows, or
  10   jail procedure generally, exists in Rule 5 under the Ninth Circuit’s interpretation of
  11   what constitutions necessary delay.
  12         Consistent with this reading, Judge Moskowitz ruled in Alvarado-Perez v.
  13   Lynch, 15CV2242 (S.D. Cal. 2015) and Alvarado-Perez v. Lynch, 15CV2243 (S.D.
  14   Cal. 2015) that it was error to continue arraignment due to the MCC booking
  15   procedure. See Transcript of Record, 15CV2243, Dk. No. 7. The Alvarado-Perez
  16   brothers were arrested at 8:00 or 9:00 p.m. and not presented the following day due
  17   to the x-ray at the MCC not being read timely. A writ for immediate presentment
  18   was filed, denied by the magistrate judge, and an appeal was filed.            Judge
  19   Moskowitz heard the appeal after 5:00 p.m. and ruled that it was error that they
  20   were not presented the day after arrest. “Well, if the person was arrested last night,
  21   they should be brought to the MCC booking window in the morning and presented
  22   before the magistrate judge in the afternoon. And you can get a copy of this
  23   transcript. If the magistrate judge thought otherwise, he’s frankly in error.” See id.
  24   at 4:12-16.
  25         The most recent and comprehensive order on Rule 5 delay is in United States
  26   v. Crystal Lauina, et al, 15CR1932-BTM, Dk. No. 81. Judge Moskowitz addressed
  27   the intersection of Pimental and General Order 605 and ruled that the MCC booking
  28   window cannot be the impediment for timely presentment. The government is


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   1   required to establish a procedure to comply with General Order 605 while at the
   2   same time not causing unnecessary delay.
   3   IV.   REQUESTED RELIEF
   4         The government failed to present the petitioner timely and the Court should
   5   grant the writ and order immediate presentment. The Court should not grant the
   6   writ and stay presentment because it does not remedy the harm suffered by the
   7   petitioner. Staying presentment of the writ fails to remedy the harm because the
   8   petitioner is not presented in court, advised of the charges, appointed an attorney,
   9   and given the right to seek bond.
  10
  11                                         Respectfully submitted,
  12
  13    Dated: 03/13/2020                    s/ Chelsea A. Estes
                                             Federal Defenders of San Diego, Inc.
  14                                         Attorneys for Petitioner
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